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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 RONALD W. HARGIS and                             )
 AMY HARGIS,                                      )
      Plaintiffs,                                 )
                                                  )
 v.                                               )      CASE NO. 1:08-CV-00339
                                                  )
 WELLSPEAK ENTERPRISES, INC.                      )
 d/b/a AJ ENGINEERING, KOHLER                     )
 COATING, and MARQUIP WARD UNITED,                )
        Defendants.                               )

                          STIPULATED ORDER OF DISMISSAL

        This Cause coming to be heard on Defendant, Marquip Ward United, Inc.’s

 Stipulated Motion to Dismiss Plaintiffs, Ronald W. Hargis and Amy Hargis’ cause

 against Defendant, Marquip Ward United, Inc. pursuant to Stipulation signed by counsel

 for all parties, due notice having been given, and the Court being fully advised in the

 premises:

        IT IS HEREBY ORDERED that Plaintiffs, Ronald W. Hargis and Amy Hargis’

 cause and all causes of action against Defendant, Marquip Ward United, Inc. are

 dismissed without prejudice pursuant to a stipulation signed by counsel for all parties.

        IT IS FURTHER ORDERED that Plaintiffs, Ronald W. Hargis and Amy Hargis’

 cause shall continue and remain pending against Defendants, Wellspeak Enterprises,

 Inc. d/b/a AJ Engineering and Kohler Coating.



    11/09/09
 ________________________
 Date                                                   _______________________________
                                                        RICHARD L. YOUNG, JUDGE
                                                        United States District Court
                                                        Southern District of Indiana


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 Distribution:

 David T. Kasper
 FROST BROWN TODD LLC
 dkasper@fbtlaw.com

 Randall R. Riggs
 FROST BROWN TODD LLC
 rriggs@fbtlaw.com

 Matthew R. King
 FROST BROWN TODD LLC
 mking@fbtlaw.com

 Michael W. Phelps
 NUNN LAW OFFICE
 mphelps@kiva.net

 Edward J. Liptak
 CARSON BOXBERGER LLP
 liptak@carsonboxberger.com

 Jeremy Dilts
 CARSON BOXBERGER LLP
 dilts@carsonboxberger.com

 Philip F. Cuevas
 LITCHFIELD CAVO LLP
 cuevas@litchfieldcavo.com

 Nicholas J. Parolisi, Jr.
 LITCHFIELD CAVO LLP
 parolisi@litchfieldcavo.com




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